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  1   DANIEL M. PETROCELLI (S.B. #097802)
       dpetrocelli@omm.com
  2   MATTHEW T. KLINE (S.B. #211640)
       mkline@omm.com
  3   CASSANDRA L. SETO (S.B. #246608)
       cseto@omm.com
  4   O’MELVENY & MYERS LLP
      1999 Avenue of the Stars, 7th Floor
  5   Los Angeles, CA 90067-6035
      Telephone: (310) 553-6700
  6   Facsimile: (310) 246-6779
  7   Attorneys for Plaintiff DC Comics
  8
                           UNITED STATES DISTRICT COURT
  9
                         CENTRAL DISTRICT OF CALIFORNIA
 10
 11   DC COMICS,                                 Case No. CV 10-3633 ODW (RZx)
 12               Plaintiff,                     DECLARATION OF DANIEL M.
                                                 PETROCELLI IN SUPPORT OF
 13         v.                                   DC’S REQUEST FOR
 14   PACIFIC PICTURES                           CONTINUANCE OF SUMMARY
      CORPORATION, IP WORLDWIDE,                 JUDGMENT UNDER FED. R. CIV.
 15   LLC, IPW, LLC, MARC TOBEROFF,              P. 56(d); DC’S OPPOSITION TO
      an individual, MARK WARREN                 DEFENDANTS’ MOTION FOR
 16   PEARY, as personal representative of       PARTIAL SUMMARY
      the ESTATE OF JOSEPH SHUSTER,              JUDGMENT ON DC’S FOURTH,
 17   JEAN ADELE PEAVY, an individual,
      LAURA SIEGEL LARSON, an                    FIFTH, AND SIXTH CLAIMS;
 18   individual and as personal                 AND DC’S CROSS-MOTION FOR
      representative of the ESTATE OF            JUDGMENT ON THESE SAME
 19   JOANNE SIEGEL, and DOES 1-10,              CLAIMS
      inclusive,
 20                                              Hon. Otis D. Wright II
                  Defendants.
 21
                                                 Hearing Date:      March 11, 2013
 22                                                                 (Hearing Vacated)
 23
 24
 25
 26
 27
 28
                                                          PETROCELLI FRCP 56(D) DECL. ISO
                                                         DC’S MSJ OPP. & CROSS-MOT. FOR J.
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  1                      DECLARATION OF DANIEL M. PETROCELLI
  2         I, Daniel M. Petrocelli, declare and state:
  3         1.     I am a partner at O’Melveny & Myers LLP, counsel of record for
  4   plaintiff DC Comics (“DC”) in the above-entitled case. I make this declaration in
  5   support of DC’s Request For Continuance Of Summary Judgment Under Fed. R.
  6   Civ. P. 56(d); DC’s Opposition To Defendants’ Motion For Partial Summary
  7   Judgment On DC’s Fourth, Fifth and Sixth Claims; and DC’s Cross-Motion For
  8   Judgment On These Same Claims. I have personal knowledge of the matters set
  9   forth in this declaration.
 10   I.    The Court Should Defer Ruling On Defendants’ Summary Judgment
 11         Motion Until Discovery Is Complete.
 12         2.     Defendants have moved for summary judgment on DC’s Fourth, Fifth,
 13   and Sixth Claims, based almost entirely on their argument that these claims are
 14   barred by the applicable statutes of limitation. As explained below, DC is in the
 15   midst of deposition and document discovery that bears directly on defendants’
 16   limitation defenses. DC thus asks the Court to defer ruling on these issues until the
 17   necessary discovery has been completed.
 18         3.     Under Federal Rule of Civil Procedure 56(d), a party may obtain a
 19   continuance on a motion for summary judgment if it appears that he “cannot for
 20   reasons stated present by affidavit facts essential to justify his opposition.” Where,
 21   as here, a party making a Rule 56(d) request has “diligently pursued its previous
 22   discovery opportunities,” Byrd v. Guess, 137 F.3d 1126, 1135 (9th Cir. 1998), and
 23   sets forth in affidavit form (1) the relevant information it seeks to elicit from further
 24   discovery, and (2) the basis for believing that information actually exists, then the
 25   additional discovery must be granted, see VISA Int’l Servs. Ass’n v. Bankcard
 26   Holders of Am., 784 F.2d 1472, 1475 (9th Cir. 1986) (reversing district court’s
 27   denial of Rule 56(f) [now 56(d)] application where discovery was not complete);
 28   Metabolife Int’l, Inc. v. Wornick, 264 F.3d 832, 846 (9th Cir. 2001) (“the Supreme
                                                               PETROCELLI FRCP 56(D) DECL. ISO
                                                -1-           DC’S MSJ OPP. & CROSS-MOT. FOR J.
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  1   Court has restated the rule as requiring, rather than merely permitting, discovery
  2   ‘where the non-moving party has not had the opportunity to discover information
  3   that is essential to its opposition’”) (emphasis added); Burlington N. Santa Fe R.R.
  4   Co. v. Assiniboine & Sioux Tribes for the Fort Peck Reservation, 323 F.3d 767, 773
  5   (9th Cir. 2003) (noting that where a summary judgment motion is filed “before a
  6   party has had any realistic opportunity to pursue discovery … district court should
  7   grant any Rule 56(f) motion fairly freely”); see also Garrett v. City & Cnty. of San
  8   Francisco, 818 F.2d 1515, 1519 (9th Cir. 1987).
  9         A.     DC Has Diligently Pursued Discovery
 10         4.     Since it filed this case in May 2010, DC has diligently pursued
 11   discovery in support of its claims, including discovery relevant to defendants’
 12   limitation defenses to its Fourth, Fifth, and Sixth Claims. For example, DC has
 13   served hundreds of document requests and interrogatories, deposed a number of
 14   witnesses, and filed over 25 discovery motions (many on account of the issues
 15   described in DC’s pending sanctions motion, DN 500; 527;573). Despite DC’s
 16   diligence, discovery has been delayed due to a nearly two-year-long discovery
 17   dispute (and stay) concerning the Toberoff Timeline documents, and defendants’
 18   repeated efforts to resist key discovery, as addressed both in DC’s pending sanction
 19   motion, id., and a pending motion to take defendants’ second day of depositions
 20   based on the new Timeline documents and other evidence DC recently obtained,
 21   DN 585 at 1-2, 6-19.
 22         5.     Indeed, for almost two years—from July 2010 until May 2012—much
 23   discovery in this case was stalled while the parties litigated whether defendants
 24   waived privilege over the Timeline documents, including by disclosing them to the
 25   U.S. Attorney’s Office. The Timeline documents include evidence describing
 26   Toberoff’s misconduct. See In re Pacific Pictures, 679 F.3d 1121, 1124 (9th Cir.
 27   2012); DN 163-12 at 735-40; 427-3-427-11; 500; 527.
 28
                                                             PETROCELLI FRCP 56(D) DECL. ISO
                                              -2-           DC’S MSJ OPP. & CROSS-MOT. FOR J.
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  1         6.     In May 2011, Magistrate Judge Zarefsky ordered defendants to
  2   produce the Timeline documents to DC, but stayed his ruling pending appellate
  3   review. DN 262 at 4. This Court denied defendants’ challenge to that ruling. DN
  4   279. In April 2012, the Ninth Circuit affirmed this Court’s order compelling
  5   defendants to produce the Timeline documents. Pacific Pictures, 679 F.3d at 1131.
  6   Defendants delayed producing the documents by filing a series of emergency
  7   motions, all of which were rejected by this Court and the Ninth Circuit. DN 424,
  8   429; 9th Cir. Appeal No. 11-71844, DN 39. The Timeline documents were finally
  9   produced in May 2012. These documents revealed further evidence of defendants’
 10   misconduct—including the withholding of important, non-privileged documents.
 11   See DN 500 at 18-19; 527 at 1-7.
 12         7.     Defendants’ discovery resistance and consequent delays have
 13   prevented DC from obtaining important discovery relevant to defendants’ limitation
 14   defenses. As discussed below, DC needs to complete this discovery in order to
 15   fully oppose defendants’ summary judgment motion. For that reason, we submit
 16   that defendants’ pending motion cannot be granted.
 17         B.     Defendants’ Statute-Of-Limitation Defenses
 18         8.     Defendants contend that DC’s Fourth, Fifth, and Sixth Claims are
 19   barred by the applicable statutes of limitation. As set forth in DC’s concurrently
 20   filed opposition, DC submits that these limitation defenses fail as a matter of law.
 21   Defendants’ motion also asks the Court to decide disputed factual issues when
 22   discovery on those issues is ongoing—including such issues as when DC was
 23   reasonably put on notice of its claims, defendants’ continuing course of
 24   misconduct, and Toberoff’s concealment of key evidence.
 25         9.     DC’s Fourth Claim alleges that Toberoff and Pacific Pictures
 26   intentionally interfered with DC’s 1992 agreement with the Shuster heirs by
 27   improperly inducing the Shusters to repudiate that agreement and grant him and
 28   Pacific Pictures competing rights. DN 49 ¶¶ 175-79. Defendants contend the two-
                                                             PETROCELLI FRCP 56(D) DECL. ISO
                                              -3-           DC’S MSJ OPP. & CROSS-MOT. FOR J.
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  1   year limitation period on this claim expired in November 2008—before DC filed its
  2   complaint in May 2010—because DC received the Shusters’ termination notice in
  3   2003 and knew about the Pacific Pictures agreements in 2006. Mot. 8-13. In its
  4   concurrently filed opposition, DC argues its Fourth Claim is timely because, inter
  5   alia, (1) it is premised on defendants’ continuing course of conduct, including an
  6   unlawful consent agreement executed by the heirs in 2008 and a Pacific Pictures
  7   agreement executed in 2011; (2) Toberoff’s pattern of misconduct only came to
  8   light when he produced the Timeline in December 2008—less than two years
  9   before DC filed suit; and (3) Toberoff, as party and as counsel, fraudulently
 10   concealed his acts of interference.
 11         10.    DC’s Fifth Claim alleges that Toberoff intentionally interfered with
 12   DC’s 2001 settlement agreement and business relationship with the Siegel heirs by
 13   inducing them to cut their ties and break their contract with DC based on Toberoff’s
 14   fraudulent promises about a business offer from a fictitious “billionaire investor.”
 15   DN 49 ¶¶ 181-86. Defendants contend the two-year limitation period on this claim
 16   began to run in 2002, when the Siegels cut their ties with DC. Mot. 13-14. In its
 17   concurrently filed opposition, DC argues its Fifth Claim is timely because, inter
 18   alia, (1) DC had no way to discover Toberoff’s illicit scheme before it obtained the
 19   Timeline in 2008; and (2) DC’s efforts to uncover this scheme, which ultimately
 20   revealed Toberoff’s fraudulent promises to the Siegels, were stymied by his
 21   discovery misconduct.
 22         11.    DC’s Sixth Claim alleges that the web of unlawful, rights-tying
 23   agreements that Toberoff (and his companies) made with the Siegel and Shuster
 24   heirs are void and unenforceable under California’s unfair competition laws. DN
 25   49 ¶¶ 188-89. Although defendants concede this Claim is timely as to their 2008
 26   consent agreement, they claim the four-year limitation period began to run years
 27   earlier on the Pacific Pictures agreements DC challenges. Mot. 21. In its
 28   concurrently filed opposition, DC contends that its Sixth Claim is timely because,
                                                             PETROCELLI FRCP 56(D) DECL. ISO
                                              -4-           DC’S MSJ OPP. & CROSS-MOT. FOR J.
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  1   inter alia, (1) DC first learned about Toberoff’s misconduct when the Timeline was
  2   produced in late 2008; and (2) his misconduct continued with the consent
  3   agreements in 2008 and 2011—after DC filed suit in 2010. As to each of its
  4   Fourth, Fifth, and Sixth Claims, DC also argues that Toberoff’s motion is barred by
  5   this Court’s ruling in DC’s favor on its Third Claim, DN 507—over the same
  6   statute-of-limitation arguments defendants repeat here.
  7         C.     Ongoing Discovery Relevant To Defendants’ Limitation Defenses
  8         12.    DC is currently conducting important deposition and document
  9   discovery relevant to defendants’ limitation defenses. For example, currently
 10   pending before Magistrate Judge Zarefsky is DC’s motion to compel further
 11   depositions of defendants Toberoff, his three companies (for whom Toberoff is
 12   testifying under FED. R. CIV. P. 30(b)(6)), Laura Siegel Larson, and Mark Warren
 13   Peary. DN 585 at 1-2, 6-19. DC submits it is entitled to depose these defendants
 14   about important new documents, most of which surfaced after their initial
 15   depositions—including the 2011 Pacific Pictures agreement, the Toberoff Timeline
 16   documents, and declarations concerning their discovery misconduct—and about
 17   key issues about which defendants previously refused to testify based on
 18   unwarranted objections. Id. The testimony DC seeks is relevant to defendants’
 19   statute-of-limitation defenses.
 20         13.    DC Needs to Finish Deposing Toberoff. DC has yet to depose
 21   Toberoff on key documents, including many of the Timeline documents, Toberoff’s
 22   recent declaration concerning his discovery conduct, the 2011 Pacific Pictures
 23   agreement, and memos from the Armstrong Hirsch firm to Toberoff discussing the
 24   ethical failings inherent in his business relationship with the Shusters. DN 585 at 1-
 25   2, 6-12. The substance of these documents is relevant to DC’s affirmative claims
 26   (the Armstrong Hirsch memos, for example, disclose and detail Toberoff’s dealings
 27   with the Shusters that DC contends were improper), and the timing and method of
 28   production of the Timeline and related documents (including documents related to
                                                             PETROCELLI FRCP 56(D) DECL. ISO
                                              -5-           DC’S MSJ OPP. & CROSS-MOT. FOR J.
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  1   DC’s “billionaire investor” fraud claim) are relevant to DC’s claims and refutation
  2   of defendants’ limitation defenses. Id. at 6-12. DC was unable to cover these
  3   topics during Toberoff’s deposition last year, given the complexity of the many
  4   issues presented in this case and given that Toberoff was testifying on behalf of
  5   four separate defendants. Id. at 6-9.
  6         14.    DC also needs to depose Toberoff about DC’s contentions regarding
  7   his discovery misconduct. At his first deposition, Toberoff’s counsel foreclosed all
  8   questions on this topic through a series of meritless privilege objections. Id. at 9-
  9   10. But DC contends this topic is not privileged, id., and Toberoff’s withholding of
 10   evidence of interactions with the Siegel and Shuster heirs—revealed in non-
 11   privileged, never-before-produced letters among the heirs, DN 500—supports DC’s
 12   fraudulent concealment, delayed discovery, and equitable tolling arguments that
 13   respond to and refute defendants’ limitation defenses. E.g., DN 585 at 10
 14   (collecting relevant case law); see DN 184 at 8-13; 185 at 12-13; 307 at 22-25; 334
 15   at 22-23.
 16         15.    Last Fall—after his deposition discussed above and in response to
 17   DC’s pending sanctions motion—Toberoff submitted an eight-page, fact-intensive
 18   declaration about his and defendants’ discovery conduct. DN 518. The declaration
 19   covers the types of topics about which I intended to examine Toberoff just weeks
 20   before, when defense counsel instructed him not to answer on the grounds of
 21   privilege. If DC’s pending motion is granted, we intend to depose Toberoff about
 22   this declaration as well. See DN 585 at 11-12 (citing, e.g., Wald v. Costco
 23   Wholesale Corp., 2005 WL 425864, at *4 (S.D.N.Y. Feb. 22, 2005) (ordering
 24   witness produced for “additional deposition regarding her new declaration” where
 25   declaration “elaborate[d] in considerable detail” on opinions)). Such a deposition is
 26   especially important given that Toberoff’s factual claims in his declaration bear
 27   directly on his pending motion for summary judgment and, as set forth in DC’s
 28
                                                             PETROCELLI FRCP 56(D) DECL. ISO
                                              -6-           DC’S MSJ OPP. & CROSS-MOT. FOR J.
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  1   motions, are contradicted by his earlier statements in sworn declarations and in
  2   open court. See DN 527 at 1, 3-5, 7; 585 at 11-12.
  3         16.      DC’s Need to Depose Peary. DC seeks to examine Peary about
  4   several new documents that were not disclosed until after his July 2011 deposition.
  5   For example, the 2011 Pacific Pictures agreement, which was executed well within
  6   the statutory period, is directly relevant to refute defendants’ limitation arguments,
  7   as DC argues in its concurrently filed opposition brief. DC contends that the
  8   creation of the 2011 agreement (in response to this lawsuit) refutes defendants’
  9   claim that when they “cancelled” the earlier Pacific Pictures agreements in 2004,
 10   Toberoff gave back to the Shusters his 50% stake in their purported rights. DN 577
 11   at 8-13, 21. As DC has shown, Toberoff’s company still held the rights up until
 12   August 2011—meaning the harm DC suffered and on which it sued continued well
 13   after the filing of this lawsuit. DN 49 ¶¶ 9, 58-64; 169; 305-37 at 1310:3-1314:6,
 14   1316:9-15, 1434:14-1440:5; 307 at 6-9; 334 at 11-17; 458 at 7-9, 23-25; 468 at 10-
 15   12.
 16         17.      DC also seeks to depose Peary about his mother’s recently surfaced
 17   will regarding DC’s contention that Peary and Toberoff misled Ms. Peavy and her
 18   daughter Dawn Peavy. DN 585 at 15-16. The Court permitted DC an additional
 19   1½ hours to depose Dawn Peavy concerning these same documents. DN 377; 382
 20   at 7:24-9:1.
 21         18.      DC also seeks to depose Peary about the Timeline documents—
 22   including the Armstrong Hirsch memos that discuss how Toberoff’s Pacific
 23   Pictures agreements with the Shusters violate California probate laws, Rules of
 24   Professional Responsibility, and the State Bar Act. DN 500-5 at 350-51, 348-76,
 25   355-62. These memos help refute defendants’ limitation defenses, as they are part
 26   of the lengthy course of dealings between Toberoff and Peary that DC contends
 27   were illicit and violated its rights. See DN 507 at 14-17.
 28
                                                             PETROCELLI FRCP 56(D) DECL. ISO
                                              -7-           DC’S MSJ OPP. & CROSS-MOT. FOR J.
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  1         19.    DC also requires more complete testimony about the agreements
  2   between the Shusters and Pacific Pictures. During Peary’s 2011 deposition,
  3   Toberoff instructed him not to answer a number of DC’s questions on this topic
  4   because he supposedly had discussions with Toberoff on the same issues. DN 585
  5   at 16-18. DC submits in its pending motion that, given Toberoff’s dual role as the
  6   Shusters’ business partner and lawyer, these instructions should be overruled. Id.
  7   Such testimony—about why and how Peary and his family were induced by
  8   Toberoff to breach the Shusters’ 1992 agreement with DC and enter into a business
  9   deal with Toberoff instead—is directly relevant to the creation, ongoing conduct,
 10   and content of that business relationship, DN 49 ¶¶ 180-89; 458 at 23-25; 468 at 10-
 11   12, which bears on defendants’ limitation defenses.
 12         20.    DC’s Need to Depose Larson. DC has yet to depose Larson on
 13   important, newly produced documents, including letters between Larson and her
 14   late half-brother Michael Siegel, the Timeline documents, two recent declarations
 15   she submitted, and a letter she published to “Superman Fans Everywhere” on
 16   October 11, 2012, that addresses allegations in DC’s Fifth Claim. As DC explains
 17   in its concurrently filed opposition, these documents are relevant to defendants’
 18   limitation defenses in that they support DC’s contentions regarding defendants’
 19   fraudulent concealment and DC’s recent discovery of key evidence underlying its
 20   Fifth and Sixth Claims. See also DN 585 at 12-14.
 21                a.    DC’s Fifth Claim alleges that Toberoff misrepresented that he
 22   had a “billionaire investor” willing to purchase the Siegels’ putative Superman
 23   rights, if they cut their ties with DC. DN 49 ¶¶ 180-86. Toberoff and Larson
 24   denied that Toberoff ever mentioned such a “billionaire,” DN 98 at 2-3; 99 at 2-3;
 25   305 at 1018:18-1020:4, 1024:24-1025:12; claimed Ari Emanuel had been the third-
 26   party investor, DN 231 at 17; 269 at 8-11; 312 at 9; and swore the Timeline, which
 27   disclosed the “billionaire,” was false, DN 98 at 2-3; 160 at 71-72; 196 at 1-5, 10.
 28   After seeking for several years to obtain Laura’s correspondence with Michael, on
                                                             PETROCELLI FRCP 56(D) DECL. ISO
                                              -8-           DC’S MSJ OPP. & CROSS-MOT. FOR J.
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  1   June 21, 2012—11 months after DC deposed Larson—the Court ordered Larson to
  2   produce a November 2002 letter she wrote Michael. DN 451 at 6. DC seeks to
  3   depose Larson about this letter. In this letter, Larson described “extensive meetings
  4   [she had] with Toberoff and Emmanuel” during which she learned that “the
  5   billionaire investor who was offering $15 million … invested his money
  6   elsewhere.” DN 455-2 at 4. In DC’s view, Larson’s letter confirms that Toberoff
  7   (1) told Larson about a “billionaire investor;” (2) the “billionaire” was not Emanuel,
  8   and (3) the non-existent “billionaire” disappeared when Larson cut her ties with
  9   DC. As argued in its concurrently filed opposition, DC contends that defendants’
 10   failure to produce this document years earlier bars their limitation defense, and DC
 11   has a right to take discovery regarding the letter—as well as other letters between
 12   Michael and Laura (including an October 2, 2002, letter cited in Laura’s November
 13   2002 letter), which defendants still refuse to produce. DN 500 at 21.
 14                b.    Among the Timeline documents disclosed in May 2012 is an
 15   August 9, 2002, memo from Kevin Marks to Larson in which he states he “told
 16   Mr. Toberoff that the Siegel Family had reached an agreement with D.C. Comics”
 17   in 2001, that Toberoff made a competing business offer to the Siegels nonetheless,
 18   and that if Larson accepted that competing offer, DC might sue her and Toberoff.
 19   DN 500-5 at 338-39. DC is entitled to depose Larson about this memo, which
 20   corroborates DC’s Fifth Claim, DN 49 ¶¶ 184-85; 9th Cir. Appeal No. 11-56934,
 21   DN 29; 37-1 at 15-17, and which was withheld both in the Siegel case and at the
 22   start of this case. Again, DC contends in its concurrently filed opposition that
 23   defendants’ withholding of such evidence tolled the statute of limitation on DC’s
 24   claims.
 25                c.    Larson also filed two sworn declarations on August 2, 2012, and
 26   November 19, 2012—over a year after her July 2011 deposition—in which she
 27   makes sworn statements directly relevant to DC’s billionaire investor claim. See
 28   DN 466-2 ¶¶ 2-4, 6; 526 ¶¶ 6, 7, 10-12, 15. DC contends that these declarations
                                                            PETROCELLI FRCP 56(D) DECL. ISO
                                              -9-          DC’S MSJ OPP. & CROSS-MOT. FOR J.
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  1   contradict Larson’s November 2002 letter, DN 527 at 7; they are the subject of
  2   pending dispositive motions in the case, id.; and are further grounds for DC to re-
  3   depose Larson regarding the merits of DC’s claims and defendants’ limitation
  4   defense.
  5         21.    Other Discovery. In addition to defendants, DC also seeks to depose
  6   representatives from Toberoff’s three companies, as well as third-party witnesses
  7   like J. Todd Harris (Toberoff’s former business partner), Ari Emanuel (Toberoff’s
  8   former business partner), and Don Bulson (counsel for Michael Siegel). In DC’s
  9   view, the many exigencies of this case and the related Siegel cases—and the
 10   significant delay in getting full and complete document productions from
 11   defendants—have impeded DC from taking these depositions earlier. DC plans to
 12   take these depositions soon.
 13         22.    Also pending before the Court is DC’s sanctions motion, which seeks
 14   to uncover key documents that Toberoff has improperly withheld or destroyed, as
 15   well as documents over which defendants have now waived privilege. DN 500 at
 16   23-24. Given Toberoff’s history of discovery misconduct, DC believes there are
 17   additional documents in defendants’ possession that support DC’s Fourth through
 18   Sixth Claims and refute defendants’ limitation defenses. Id. at 6-21. This includes
 19   hundreds of documents in Bulson’s possession, on Toberoff’s logs, and in the
 20   possession of both the Siegel and Shuster heirs. Id.
 21         23.    DC contends it should have the opportunity to complete all of this
 22   discovery before defendants’ summary judgment motion on its limitation defenses
 23   can be heard. While DC submits the Court could grant judgment in DC’s favor on
 24   its Fourth, Fifth, and Sixth Claims—for all of the reasons discussed in DC’s
 25   concurrently filed cross-motion for summary judgment, and its fully briefed
 26   sanctions motion—DC contends defendants cannot obtain summary judgment on
 27   their limitation defenses when discovery on those defenses is incomplete.
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                                                              PETROCELLI FRCP 56(D) DECL. ISO
                                             - 10 -          DC’S MSJ OPP. & CROSS-MOT. FOR J.
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  1   II.   Materials Cited In Defendants’ Motion and DC’s Papers
  2         24.    Defendants cite a total of seven exhibits in support of their summary
  3   judgment motion: (1) the Shuster termination notice; (2) a letter concerning
  4   production of the Pacific Pictures agreements; (3) excerpts from Toberoff’s 2006
  5   deposition in Siegel; (4) a declaration submitted by Warner’s in-house counsel,
  6   Wayne Smith, in Siegel; (5) a declaration submitted by DC’s former counsel in
  7   Siegel; (6) defendants’ Request for Judicial Notice (“RJN”) filed in support of their
  8   Rule 12 motions; and (7) DC’s Response to the RJN. Adams Decl. Exs. M, V, W,
  9   X, Z, BB, CC.
 10         25.    Only two of these seven exhibits are new. In unsuccessfully moving
 11   for summary judgment on DC’s First and Third Claims last year, defendants cited
 12   (2), (3), and (4). Compare Adams Decl., Exs. V, W, X with DN 463-3 at 302; 463-
 13   4 at 303-329. And in support of their Rule 12 motions—which defendants later
 14   withdrew, DN 343—defendants submitted their RJN ((6)) and DC submitted its
 15   response ((7)). Compare Adams Decl., Exs. BB, CC with DN 333-1, 335.
 16         I declare under penalty of perjury under the laws of the United States of
 17   America that the foregoing is true and correct. Executed on the 15th day of
 18   February, 2013 at Los Angeles, California.
 19                                                       /s/ Daniel M. Petrocelli
                                                              Daniel M. Petrocelli
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                                                            PETROCELLI FRCP 56(D) DECL. ISO
                                             - 11 -        DC’S MSJ OPP. & CROSS-MOT. FOR J.
